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    8 Attorneys for Defendants
      UNIVERSAL CITY STUDIOS LLC,
    9 PLATINUM DUNES PRODUCTIONS,
      WHY NOT PRODUCTIONS, INC., and
   10 JAMES DEMONACO

   11                                    UNITED STATES DISTRICT COURT
   12                                   CENTRAL DISTRICT OF CALIFORNIA
   13

   14   DOUGLAS JORDAN-BENEL, an            )          Case No. 14-cv-05577-MWF-MRW
        individual,                         )
   15                                       )          Assigned to Hon. Michael W. Fitzgerald
                             Plaintiff,     )
   16                                       )          [PROPOSED] ORDER GRANTING
               vs.                          )          STIPULATION STAYING ACTION
   17                                       )          PENDING FILM DEFENDANTS’
        UNIVERSAL CITY STUDIOS, INC., a )              APPEAL
   18   Delaware corporation; UNITED        )
        TALENT AGENCY, INC., a California )
   19   corporation; BLUMHOUSE              )          [Stipulation Staying Action Pending Film
        PRODUCTIONS, LLC, a Delaware        )          Defendants’ Appeal Filed Concurrently]
   20   Limited Liability Company; OVERLORD )
        PRODUCTIONS LLC, a California       )
   21   Limited Liability Company; PLATINUM )          Action Filed: July 17, 2014
        DUNES PRODUCTIONS, a California )
   22   Corporation, WHY NOT                )
        PRODUCTIONS, INC. d/b/a WHY NOT )
   23   FILMS, a Nevada Corporation; JAMES )
        DEMONACO, an individual; and DOES )
   24   1 to 50, inclusive,                 )
                                            )
   25                        Defendants.    )
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        [PROPOSED] ORDER
        DWT 27477273v1 0020040-000121
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    1           The Court has reviewed the parties’ concurrently-filed Stipulation between
    2   Plaintiff Douglas Jordan-Benel (“Plaintiff”), Defendants Universal City Studios
    3   LLC, Platinum Dunes Productions, Inc., Why Not Productions, Inc. and James
    4   DeMonaco (collectively, the “Film Defendants”), and Defendant United Talent
    5   Agency, Inc., (the “Stipulation”), and finds that good cause exists for staying this
    6   action pending the Film Defendants’ appeal of the Court’s June 24, 2015 Order.
    7           The Court hereby GRANTS the parties’ Stipulation, and ORDERS that this
    8   action is stayed pending the Film Defendants’ appeal of the Court’s June 24, 2015
    9   Order, except Plaintiff may file a motion for reconsideration of the June 24, 2015
   10   Order, and Defendants may raise any objections or defenses to the motion, including
   11   any objection to the Court considering the motion before the Film Defendants’
   12   appeal has been concluded.
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   15   DATED: ___________________                    _______________________________
                                                       Honorable Michael W. Fitzgerald
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                                                       U.S. DISTRICT COURT JUDGE
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        [PROPOSED] ORDER
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